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HYDE & SWIGART




                                    13                            UNITED STATES DISTRICT COURT
                 Phoenix, Arizona




                                    14                                DISTRICT OF ARIZONA
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                                          Brian Swontek,                                         Case No.: 2:16-CV-03602-DJH
                                    17
                                    18                             Plaintiff,                    NOTICE OF SETTLEMENT AS
                                          v.                                                     TO DEFENDANT PORTFOLIO
                                    19
                                                                                                 RECOVERY ASSOCIATES, LLC
                                    20    Experian Information Solutions,                        ONLY
                                          Inc.; Equifax Information Services,
                                    21
                                          LLC; Trans Union, LLC; RGS
                                    22    Financial, Inc.; Portfolio Recovery
                                    23    Associates, LLC; Continental
                                          Central Credit, Inc.; and Hughes
                                    24    Federal Credit Union,
                                    25
                                                                   Defendants.
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                                          ______________________________________________________________________________________________________
                                           Notice of Settlement                     - 1 of 2 -                       2:16-CV-03602-DJH
                                               Case 2:16-cv-03602-DJH Document 114 Filed 04/23/18 Page 2 of 2



                                    1           NOTICE IS HEREBY GIVEN that the dispute between Plaintiff BRIAN
                                    2    SWONTEK (“Plaintiff”) and Defendant Portfolio Recovery Associates, LLC
                                    3    (“PRA”) has been resolved on an individual basis. The parties anticipate filing a
                                    4    Stipulation for Dismissal of the Action as to the named Plaintiff’s claims against
                                    5    PRA with prejudice, within 60 days. Plaintiff requests that all pending dates and
                                    6    filing requirements as to PRA be vacated.
                                    7
                                    8    Date: April 23, 2018                                    Kazerouni Law Group

                                    9
                                    10                                                           By:/s/ Ryan L. McBride
                                                                                                 Ryan L. McBride
                                    11                                                           Attorney for the Plaintiff
                                    12
HYDE & SWIGART




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                 Phoenix, Arizona




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                                           Notice of Settlement                     - 2 of 2 -                       2:16-CV-03602-DJH
